»] ROYER

LAW FIRl\/[,l».¢_-,

February 11,2019

The Honorable Glen E. Conrad

United States District Court for the
Western District of Virginia

P.O. Box 2822

Roanoke, Virginia 2400]

Re: fm D. Socol' v. Afbemarle Coum*y School Board and Dr. Marthew Haas
Case No.: 3:18-cv-0090

Dear Judge Conrad:

I am in receipt of Mr. Adams’ letter dated February ?, 2019, providing his argument
relating to plaintiff` s position that statements should be evaluated for stigma in the context of the
relevant profession or community and his proposed amended complaint In accordance with
your instruction during our oral argument on January 28, 2019, l am requesting seven days to
provide a response to both the argument and proposed amended complaint before you rule on the
pending motion to dismiss

I appreciate your kind consideration to this request.
Very truly yours,

ROYER LAW FIRM, P.C.

 

cc: Jeffrey R. Adams, Esq.

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